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SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-06-100-CV





IN RE ROBERT LEE SMITH, JR.	RELATOR



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relator's petition for writ of mandamus and is of the opinion that relief should be denied. &nbsp;Accordingly, relator's petition for writ of mandamus is denied.





PER CURIAM





PANEL B:	GARDNER, DAUPHINOT, and HOLMAN, JJ.



DELIVERED: March 27, 2006

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




